Case 08-35653-KRH          Doc 14213 Filed 06/14/19 Entered 06/14/19 14:34:29                Desc
                                Main Document   Page 1 of 4




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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                 (Richmond Division)



In re:                                                       Case No. 08-35653 (KRH)

CIRCUIT CITY STORES, INC., et al.,                           Chapter 11

                         Debtors.                            (Jointly Administered)




       SUPPLEMENT TO OBJECTION OF THE UNITED STATES TRUSTEE
      TO ADDRESS NEW ARGUMENTS RAISED AT THE HEARING ON THE
     MOTION OF THE LIQUIDATING TRUSTEE TO DETERMINE EXTENT OF
      LIABILITY FOR POST-CONFIRMATION QUARTERLY FEES PAYABLE
     TO THE UNITED STATES TRUSTEE PURSUANT TO 28 U.S.C. § 1930(A)(6)

         John P. Fitzgerald, III, Acting United States Trustee for Region Four (the “United States

Trustee”), respectfully files this Supplement to address three new arguments that were raised for

the first time at the June 12, 2019, hearing on the Motion of the Liquidating Trustee to Determine
Case 08-35653-KRH         Doc 14213 Filed 06/14/19 Entered 06/14/19 14:34:29                   Desc
                               Main Document   Page 2 of 4




Extent of Liability for Post-Confirmation Quarterly Fees Payable to the United States Trustee

Pursuant to 28 U.S.C. § 1930(A)(6) (the “Motion”).

       1.      The Liquidating Trustee raised for the first time at the hearing an argument based

on the Takings Clause of the Constitution. However, the Supreme Court reaffirmed in 2013 in

Koontz v. St. Johns River Water Management District, that “[i]t is beyond dispute that ‘[t]axes

and user fees . . . are not “takings.”’ 570 U.S. 595, 615 (2013) (quoting Brown v. Legal Found.

of Wash., 538 U.S. 216, 243, n.2 (2003) (Scalia, J. dissenting) (ellipses in original)). See also

West Virginia CVP Fund v. Stacy, 671 F.3d 378, 387 (4th Cir. 2011) (“[W]e hold that the mere

imposition of an obligation to pay money does not give rise to a claim under the Takings

Clause.”).

       2.      At the hearing, the Liquidating Trustee also cited a case not cited in the Motion,

No v. Gorman, 891 F.3d 138 (4th Cir. 2018), which counsel argued was relevant to his

uniformity argument under the Bankruptcy Clause. That case, however, does not address either

the Bankruptcy Clause or uniformity. Rather, it held that a local bankruptcy rule that provided

for dismissal without a hearing was invalid because it conflicted with a provision of the

Bankruptcy Code that required a hearing.

       3.      Finally, the Liquidating Trustee argued for the first time at the hearing that the

Judicial Conference’s decision not to collect the increased fees set forth in the 2017 amendment

until October 1, 2018, is relevant to his retroactivity argument (as opposed to the uniformity

argument) because it reflected an alternative, equally reasonable, reading of the amendment. But

as shown in the Report of the Judicial Conference Committee on the Administration of the

Bankruptcy System, at 20 (Sept. 2018) (attached as Exhibit C to the United States Trustee’s
                                                -2-
Case 08-35653-KRH          Doc 14213 Filed 06/14/19 Entered 06/14/19 14:34:29                    Desc
                                Main Document   Page 3 of 4




Response, Dkt. No. 14203), the Committee was not purporting to interpret the 2017

amendment—rather, it simply decided that the new fee calculations “should apply in BA districts

beginning in the first quarter of fiscal year 2019 (that is, for any chapter 11 case filed on or after

October 1, 2018, and not for cases then pending).” Moreover, any interpretation of the

amendment as imposing the temporary fee increase only on or after October 1, 2018, could have

no basis in the language of the 2017 amendment because the amendment makes no reference to

October 1, 2018.

                                          CONCLUSION

       For these reasons, the United States Trustee respectfully asks this Court to deny the

Motion.

Date: June 14, 2019                                    Respectfully submitted,

                                                       John P. Fitzgerald, III
                                                       Acting United States Trustee, Region Four

                                                       By: /s/ Robert B. Van Arsdale
                                                       Robert B. Van Arsdale (Va. Bar No. 17483)

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                                                 -3-
Case 08-35653-KRH        Doc 14213 Filed 06/14/19 Entered 06/14/19 14:34:29                 Desc
                              Main Document   Page 4 of 4




                                 CERTIFICATE OF SERVICE
        I hereby certify that on June 14, 2019, a true copy of the foregoing was delivered via
electronic mail pursuant to the Administrative Procedures of the CM/ECF System for the
United States Bankruptcy Court for the Eastern District of Virginia to all necessary parties,
specifically including the following:
 Robert K. Coulter on behalf of United States of America
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       In addition, a copy was mailed to the following by first class postage pre-paid
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                                                    /s/ Robert B. Van Arsdale
                                                    Robert B. Van Arsdale
